Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 1 of 57

ATTACHMENT A
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 2 of 57

 

Rogers, HL

From: Rogers, HL

Sent: Monday, May 04, 2009 5:07 PM

To: babaktalebi@gmail.com

Ce: Kapshandy, Timothy E.; Jillson, Elisa K., Lynch, Kelly; ap@pishevarlegal.com
Subject: Subpoena Noncompliance

Attachments: Untitled. pdf, Untitled. pdf

Mr. Talebi,

I'm attaching a letter to this email that has also been sent to you via regular mail advising you that you are overdue
in responding to the subpoena sent to you on February 19, 2009 requiring production of documents on May 1, 2009. ]
have also attached a copy of the original subpoena. Please respond immediately to the subpoena. If you fail to do so,
we will seek relief from the Court, which has the authority to hold you in contempt of court for your failure to
respond.

Regards,

HL

 

HL Rogers | Sidley Austin LLP

1501 K Street, N.W. | Washington, D.C. 20005
Tel: 202.736.8301 | Fax: 202.736.8711
hrogers@sidley.com

  

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KB)
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 3 of 57

SIDLEY AUSTIN ue BEIJING LOS ANGELES
sinker ROSTW IS +501 K STREET, N.W. BRUSSELS NEW YORK
WASHINGTON, 0.6. 20005 CHICAGO SAN FRANCISCO
SIDLEY| IDLEY'| DL KY (202) 736 8000 DALLAS SHANGHAI
(202) 736 8711 FAX FRANKFURT SINGAPORE
GENEVA SYDNEY
HONG KONG TOKYO
LONDON WASHINGTON, 0.C.

hrogers@sidiey.com

(202) T36-8301 FOUNDED 1866
May 4, 2009
Babak Talebi
1557 Westmoreland St.
McLean, VA 2210]

Re: Court-ordered Response to Subpoena in Parsi et al. v. Hassan, Case No. 08-705

 

Dear Mr. Talebi

Your response to the subpoena served on you on February 19, 2009 in the above-
captioned matter is overdue. The District Court for the District of Columbia required your
response to the subpoena on May 1, 2009, at 10:00 am at 1501 K St. NW, Washington D.C.
20005.

Picase respond immediately to the subpoena. If you fail to do so, we will seek relief from
the Court, which has the authority to hold you in contempt of court for your failure to respond.

Sincerely,

 

cc: Afshin Pishevar
Timothy E. Kapshandy
Bradford A. Berenson

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Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 4 of 57

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WASHINGTON, 0.6, 20005 CHICAGO BAN FRANCISCO
S I DL EY | (202) 738 8000 DALLAS SHANGHAI
(202) 730 8711 FAX FRANKFURT SINGAPORE
GENEVA SYGNEY
HONG KONG TOKYO
LONDON WASHINGTON, 0.C.

hrogermd> sidiey.cor
(202) 736-8301 FOUNDED 1888

February 19, 2009

Babak Talebi
1557 Westmoreland St.
McLean, VA 22101

OR

6127 Quiet Times
Columbia, MD 21045

Re: _ Parsi et al. v. Hassan, Case Number 08-705
Dear Mr. Talebi,

Enclosed please find a subpoena requiring you to provide documents as set out in
Attachment A to the subpoena no later than May 1, 2009 at 10:00 am at 1501 K St. NW,
Washington D.C. 20005 in the above-captioned matter. The subpoena also requires that you
appear for deposition testimony on June 1, 2009 at 10:00 am at 1501 K St. NW, Washington
D.C. 20005.

Please do not destroy any documents that are relevant to this subpoena. Also, please
contact me, or have your counsel contact me, at the above phone number or email address
tegarding the format of the documents to be produced. Feel free to contact me, or have your
counsel contact me, if you have any other questions.

We appreciate your attention to this important matter and regret any inconvenience that it
may Cause you,

Sincerely,

HL Rogers

ct! Afshin Pishevar

Enclesure

Sidley Ausin LL? ato irviod ib lity perineranie practeing ih afttartion sath other Sedtey Avatin parinanhipa
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 5 of 57

 

 

Issued by the

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

Trita Parsi and National Iranian American Council

Vv

Seld Hassan Daiclesiam
7
Case Number:! 08-705 (JDB)

SUBPOENA IN A CIVIL CASE

TO: Babak Talebi
* 1587 Wastmoraland St., McLean, VA 22101 4443 OR
6127 Quiet Times, Columbia MD 2104§ 7426

[D YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below to
testify in the above case.

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

 

4 YOU ARE COMMANDED to appear at the piace, date, and time specified below to testify at the taking of a deposition
in the above case.

 

PLACE OF DEPOSITION 1507 K St. NW, Washington D.C, 20005 DATE AND TIME
i 6/1/2009 10:00 am

 

 

a YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the

place, date, and time specified below (list documents or objects):
See Attachment A

 

PLACE 1601 K St. NW, Washinglon D.C, 20005 DATE AND TIME
5/1/2009 10:00 am

 

O YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federa] Rules of Civil Procedure, 30(b¥6).

 

 

ISSU OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY POR PLAINTIFF OR DEFENDANT) | DATE
(art tei. Senna) 2/18/2009

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
HL. Rogers
1501 K SL NW, Washington 0.C. 20005

 

(See Rele 45, Foderal Rules of Civil Procedure, Sobdivisions (c}, (d), aad (e), an nest page)

"Wf action is pending in district other than district of issuance, suate district under case number
Case 1:08-cv-00705-JDB

2/06) Suboaspa inn Civic

Document 27-1 Filed 08/04/09 Page 6 of 57

 

 

 

 

 

 

PROOF OF SERVICE
DATE PLACE
557 Westmoreland SL, McLean, VA 22101: 6127 Quiet
SERVED Hee Times, Columbia MD 21045;4411 K St NW DC 20008

SERVED ON (PRINT NAME) MANNER OF SERVICE

Babak Talgbi Certified Mail

SERVED BY (PRINT NAME} TITLE

HL Rogers Attomey

DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained

in the Proof of Service is true and correct.

2/19/2009
DATE

Executed on

 

 

 

1501 K St. NW, Washington 0.C, 20005
ADDRESS OF SERVER

SIGNA

 

 

Rule 45, Federal Rules of Civil Procedure, Subdivisians (c), {d), and (e), as amended on December |, 2006:

(2) PROTECTION OF PERSUNS SUBIBCT TO SUBPOENAS,

(1) A party or anaftomey responsible for the issuance and service of « sabpoene shall ake
teascnale stops to ercid imposing wadee burden or expense on a pursce: abject to thed
webpoena, The court on behalf of which the subpocna was isrucd shall eofirce this duty and
innpoxe open the panty or pRomicy @ breach of this duty en approprinte cancion, which may
techude, but is oot United to, lost earnings aud w remnuble attorney's for.

(2) (A) A person commanded #2 produce and pemnit inspection, copying, testing, or
sampling of designated electronically stewed inibrmarion, books, pepers, documumts or ungible
théogs, oF inspection of promises need net appess in pervon at the place of production or
mupecticg unboss connanded to appear fos deposition, bescing or tind.

(B) Subject to paragraph {42} of teis rude, «person commanded te procece sad permii
ngpectom, copying, initing, or sampling owy, within 14 days after aprrive of Uae subpocna or
befurs the time mpecitied far compiinncs if such time is lesa chen 14 daya afler service, serve
upon ihe pasty or stiorncy designated i the sabp written objecthow to producing wy or all
of the designsted materialaor inspection of the premise: — of to producing clectronically stored
m formation mi the form or faras requested, 1fobjection is made, the panty sorving the subposma
shall nat be entitledto inspect, copy, test, or sample the materials or inspect the prenmary carept
Pusswant to an order of che eon! by which the mbpocns was sued. [Lobjoction lua boon made,
the pesty serving the subpoena may, updo notice to the person commanded to produce, move
wt ery Gamo for an order to compel the production, inspection, copying, testing, or sampling.
Such ae onder to compel shall proteca my person who is not a party o7 ani officer of a party fine
Bigaifican expense resaking Goer the inspection, copying, turing, or sampling comsnanded.

{3) (A) On tinnely motion, the cows by which « eubpooma was issiaed shal qussh on modify
the Jubpoona if

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0 perton wcuy mi order te attend cial be commanded i wavel fom any such place within the
TSE Sr which the tial ts held:

Ghd) wexquizes dlseiveurc of privileged or ober protected matter end av RCEpGON OF
waiver applips, o

(iv) subjecss a person to undwe burden,

(B) Ifa mabpoean

(i) requires disclosure of a bade socrel or uthor confidential research, develapmicet,
or constercial Information, oF

(i) requiven ditcl. of an ined pxport's op or information ot
dencribing specific events or eccurrentes in dispute and verulting from the expert’ s sticky side
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10 va afected by the subpoenas, quash or modify the sebpoome cr. if the party in whowe behalf
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wpon tpecifiod canduions,

{d} DUTIES IN RESPONDING TO SUBPOENA.

(1) (A) A person responding ta subp to produce d shall p them as

they are kept imho usun) coursa of business ov shall crgasize and labol them to sorvspond with
the canagoripa It dhe dean

(B} Fa subpoens does not spoci fy tho form or forme hor producing chscironically stored

i ion, § Porson nesponding 3 mW sabp Nut produce the information m # form or

forme in whigh the paxnon crditerily tusintens it or ig a form oF forms that are rensorably

usable

(C).A person responding tn asubpoens need sot prodace the satcic electronically stored
information in mowe than ove form.

{D) A penton responding 10 8 subpocoe need not provide discovery of clactromically
stored information froen sources that the person identifies as not reasonably acerat! ble heamuay
of vides bardea or cost. On motion in compel discovery or t quash, the pevecn from whom
discovery is sought mex show that the inforraation sought ir not tearonably aceren Me hocwese
of ides burden or cost, if that showing is made, tho court may nonetheles urder dimcovery
rere such posrces if the requesting pasty shows good cause, conzidaning He Lurtitetions of Rule
2OKIKC). ‘The court may apocify comdiricns for the dicanvery,

(2) (A) Witea information subject to 2 sebpoons is withheld on clam that it is privileged
of subsect to protection ag uial-prepareriie rusteriaks, the claim ahall be pide exprensly asd
shall be sxpponed by a descayption of the nainrs of the docurocnts, canmniunicahons, of things
TX produced that is safficiews 1 etable the demandiog party i contest the clair

(8) Uinformnation is produced in reagories fo a subpoenu that is nibjevi ios chara of
privilege or of prrection at Wisl-pegparation material, the porsm naaking the claign may notify
wy party thas received the informution of the claim and drs basix for it, Aflor being notified,
B Party Mast promptty ratom, sequester, or destroy Uno specified information and any copies 11
hag and iary not use or distioes the information until the claim is resolved. A Tecorving party
mney promptly presen: the information Ip the court under seal far a determination of the claim.
Ifthe receiving pasty disnloaed the informaticn before being notified, it must take resenneble
Steps (0 femreve it, The pesina who produced the information bust preserve the information
until de clagm ia resolved.

(2) CONTEMPT. Patlure of noy person without edequais oxcube to obcy a subpoena served upoo
thet person may bo deemed « contempt of the coun from wich the sobpoena isroed An
adequate case for failure to obcy cnisty when a mubpoces purporis $0 require a nonpany co
attend ce produce atu place nol within the Limit provided by clause (ii) of subparagraph
(cX3KA).
 

Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 7 of 57

ATTACHMENT A

DEFINITIONS
1, “NIAC” shail mean the National Iranian American Council, its board of
directors or trustees and any officials, Tepresentatives, employees, servants, attorneys, agents,
or any other person acting for or on its behalf, including, but not limited to, Plaintiff Trita

Parsi.

2, “Tran” shall mean the country of the Islamic Republic of Iran and its
ministries, agencies, instrumentalities, government-owned or controlled corporations,
partnerships, or business entities, and any citizens, officials, representatives, employees,

Servants, attomeys, agents, or any other person acting for or on its behalf.

3. “Membership,” unless otherwise specified, shall mean former, current, or
potential] members of NIAC; persons who currently identify or formerty identified as members
of NIAC, contribute or have contributed time or money to NIAC or provide or have provided

NIAC with information regarding its policies.

4. “Staff,” unless otherwise specified, shall mean any employees, servants,

agents, representatives or any other person acting for or on behalf of his/her/their employer.

3. “Internship,” unless otherwise specified, shal] mean any program which
offered temporary, paid or unpaid employment with NJAC or a United States political official,

including any fellowship program.
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 8 of 57

6, “Executive Board,” unless otherwise specified, shal] mean any individual
currently affiliated with NIAC or formerly affiliated with NIAC as a member of any board,

board of directors, or group of supervisors or trustees.

7. “Government officials,” unless otherwise specified, shall mean any United
States Senator or Congressperson and all staff or interns associated with any United States

Senator or Congressperson.

8. “Complaint” shall mean the complaint filed by Parsi and NIAC against

Hassan in this action.

9. “Document” or “documents” is used in its broadest sense, as defined by
Federal Rule of Civil Procedure 34(a), and includes, without limitation, all electronic, written,
or printed matter of any kind, including drafts, originals and non-identical copies thereof,
whether different from the original by reason of any notation made on such copies or
otherwise, and records of any type or description, including without limitation the following:
correspondence; interoffice and intracffice communications; notes; letters; memoranda; werk
papers; analyses; plans; studies; statistical records, reports; press releases: contracts and
agreements; records, summaries, agendas, minutes or notes of conferences, meetings,
telephone calls, or other conversations; calendars, diaries, and appointment books; message
pads; telephone messages and telephone logs; facsimiles, teletypes, telexes, and thermafaxes;
photographs; tapes or other recordings; handwritten notes or notations in any form; voicemail
messages; instant messages; data compilations, including, but not limited to, computer-
generated and computer-stored information, whether or not ever printed out or displayed, such

as documents stored on a network server, computer drive, CD or floppy disks: clectronic mail,
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 9 of 57

whether or not cver printed out or displayed, and any enclosures or attachments thereto: data

posted or transmitted on Internet websites, including social networking sites and blogs.

10. “Communications” means any transmittal of information in the form of
facts, ideas, inquiries or otherwise, including a letter, memorandum, facsimile, meeting,
telephone call, e-mail, instant message, blog posting, social networking site update, social
networking site post, or social networking site message, or other communication, whether
written or oral, between two or more of the persons or entitics identified in the requests below,
or relating to any person or entity identified in the request below, during the time period

January 1, 2003 through the present.
11. “Including” shall mean “including, but not limited to.”

12. “Relate to” or “relating to” shall mean any information or document which
addresses, constitutes, contains, embodies, evidences, reflects, concerns, identifies, states,
refers to, regards, records, responds to, deals with, describes, discusses, explains or is in any

way pertinent to the subject of the request.

INSTRUCTIONS

1, Documents produced in response to one specific paragraph of this request
need not be produced again, provided they are designated as being responsive to subsequent

Specific paragraphs when they are first produced.
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 10 of 57

2. You are required to produce all of the requested documents which are in
your possession, custody or centro], including (by way of illustration only and not limited to}
documents in the possession, custody or control of your affiliates, or merged and acquired
predecessors and your present or former investigators, attorneys, directors, officers, partners,
employees or other agents, as well as your present or former independent contractors over

which you have or had control, and any other person acting on your behalf.

3. You are to produce the originals and all copies of originals within the
scope of this request, and make such origina) documents available for inspection and copying.
These original documents must remain available throughout the custodian of records’

examination.

4. This request for production is continuing so as to require supplemental
production pursuant to applicable procedural rules. If, after making your initial production,
you Or any person acting on your behalf obtains varying or additional information or
documents called for by the requests, all such original information and documents shall be

made available to Counsel for Plaintiffs.

5, If you withhold any information or documents requested herein on
grounds of privilege, work-product or otherwise, identify the specific grounds upon which your
objection is based and the particular request objected to, and identify any withheld documents
or portion(s) thereof as follows:

a. date;
b. identity of its author/signatory and recipient;
6. type of document (e.g., letter, chart, memorandum, etc.);

d. Summary of document contents, or the nature of the document;
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 11 of 57

e. Notwithstanding the assertion of an objection, any purportedly
privileged document containing non-privileged matter must be
disclosed, with the purportedly privileged portion excised,

6. If any otherwise responsive document was, but is no longer in existence or
in your possession, custody or control, identify its current or last known custodian, the

location/address of such document, and describe in full the circumstances surrounding its

disposition from your possession or control.

7, Documents produced pursuant to this request shall be labeled to indicate
the specific paragraph(s) of the request to which they respond or, in the alternative, produced
as they are kept in the ordinary course of business. If a document was prepared in several
copies, or if additional copies were thereafter made, and if such copies were not identical) or are
no longer identical by reason of subsequent notation or modifications of any kind whatsoever,
including, without limitation, notations on the front or back of the document, such non-
identical copies must be produced, The fact that a document has been or shall be produced by
one person does not relieve any other person from the obligation to produce a copy of the same

document, even if the two documents are identical in all respects.

DOCUMENTS TO BE PRODUCED

1. All communications to or from persons in Iran, or the Iranian government
(including all government agencies and quasi-government agencies) related in any way to Iran,
NIAC, Iranians for International Cooperation (“HC”), and/or American Iranian Council

(SAIC’),

2. All communications to or from Government Officials, including their staff
and/or interns related in any way to Iran, NIAC, Iranians for International Cooperation (“TIC”),

and/or American Iranian Council (“AIC”).
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 12 of 57

3. All communications with NIAC, any of its staff, interns, officers, or board
members. All communications with IIC, any of its staff, interns, officers, or board members.

All communications with AIC, any of its staff, interns, officers, or board members.

4, Documents reflecting any funds received by you from or sent by you to

NIAC, IIC, Iran, or persons in Iran.

 
 

Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 13 of 57

ATTACHMENT B
Rogers, HL

From: Rogers, HL

Sent Thursday, May 21, 2009 4.37 PM

To: ‘Babak Talebi'

Ce: '‘ap@pishevarlegal.com', Kapshandy, Timothy E., Jillson, Elisa K.
Subject: RE. NIAC - RE: Subpoena Noncompliance

Mr. Talehi,

Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09

 

Page 14 Of Abe 1 of 3

Unfortunately, | have not heard back from you since this letter was sent. As soon as possible, please let me
know the best date for your deposition the week of June 8-12. In addition, please send any and all responsive
documenta (including emails, calendars, computer files, hard copy documents, etc.) immediately.

From: Rogers, HL

Sent; Friday, May 08, 2009 4:00 PM

To: Babak Talebi

Cc: ap@pishevarlegal.com; Kapshandy, Timothy E.; Jillson, Elisa K.
Subject: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talehi,

Please see our attached response, which has also been mailed to you.

HL

6/22/2009

From: Babak Talebi [mailto: babaktalebi@gmail.corn]
Sent: Tuesday, May 05, 2009 8:48 PM

To: ap@pishevarlegal.com

Cc; Rogers, HL

Subject: Re: NIAC - RE: Subpoena Noncompliance

HL,

1 am in posetion of no documents that I am aware of. Any documents that I had a part in

while at NIAC are in NIAC's posetion at this time.

Babak

On May 5, 2009 5:36 PM, <ap@pishevarlegal.com> wrote:

Mr. Talebi has contacted me and I will be finding out what documents if
any there are to produce in the near future. Please afford Mr. Talebi, a
little more time to respond. Obviously, he is a witness and not my client.

So that is the extent of my involvement there.

Thank you for your courtesy.
 

Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 15 Oe Se 2 of 3

Sincerely,

A.P. Pishevar, Esq.
Jefferson Plaza - Suite 316
600 E. Jefferson Street
Rockville, MD 20852
Tel.(301)279-8773
www.PishevarLegal.com

Vea Coe, Okie Miboivcs, «il: Fras Ghandi Seeadll #2 Ae ay «fs etlen et hnne

PIS SHEVARS ASSOCIATES, PC.

een ett

 

 

ATTORNEYS

(((((READER BEWARE: Unencrypted, unauthenticated Internet e-mail
is inherently insecure. Internet messages may be corrupted or
incomplete, or may incorrectly identify the sender. ((NOTICE:
Confidentiality notice: The unauthorized disclosure or interception of
email is a federal crime; 18 U.S.C. Sec. 2517(4). This electronic message
transmission contains information which may be confidential or
privileged. The information is intended solely for the recipient, and use
by any other party is not authorized. This is not legal advice nor does
this communication establish an attorney-client relationship. If you are
not the intended recipient, be aware that any disclosure, copying,
distribution or use of the contents of thisinformation is prohibited. If
you have received this electronic transmission in error, please
immediately notify us. Thank you.))

--==~ Original Message-----

From: "Rogers, HL” <hrogers@Sidley.com>

Sent: Monday, May 4, 2009 5:06pm

To: babaktalebi@gmail.com

Ce: "Kapshandy, Timothy E." <tkapshandy@sidley.com>, "Jillson, Elisa
K." <ejillson@Sidley.com>, “Lynch, Kelly” <kjlynch@sidley.com>,
ap@pishevarlegal.com

Subject: Subpoena Noncompliance

Mr. Talebi,

I'm attaching a letter to this email that has also been sent to you via regular mail
advising you that you are overdue in responding to the subpoena sent to you on
February 19, 2009 requiring production of documents on May 1, 2009. I have also
attached a copy of the origina] subpoena. Please respond immediately to the
subpoena. If you fail to do so, we will seek relief from the Court, which has the
authority to hold you in contempt of court for your failure to respond.

Regards,

HL

6/22/2009
6/22/2009

Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 16 of Page 3 of 3

 

HL Rogers | Sidley Austin LLP
1501 K Street, N.W. | Washington, D.C. 20005
Tel: 202.736.8301 | Fax: 202.736.8711

hrogers@sidley.com

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— <= re eee ee te te oe te Se oe ee ee ee

IRS Circular 230 Disclosure: To comply with certain U.S. Treasury
regulations, we inform you

that, unless expressly stated otherwise, any U.S. federal tax advice
contained in this

communication, including attachments, was not intended or written to
be used, and cannct be

used, by any taxpayer for the purpose of avoiding any penalties that may
be imposed on such

taxpayer by the Internal Revenue Service. In addition, if any such tax
advice is used or referred

to by other parties in promoting, marketing or recommending any
partnership or other entity,

investment plan or arrangement, then (i) the advice should be construed
as written in connection

with the promotion or marketing by others of the transaction(s) or
matter(s} addressed in this

communication and (ii) the taxpayer should seek advice based on the
taxpayer's particular

circumstances from an independent tax advisor.

Woke ete ek ke ek a a a ee a EAR EKER EEE EER EERE EWE EW

This e-mail ia sent by a law firm and may contain information that is
If you are not the intended recipient, please delete the e-mail anda
immediately

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Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 17 of 57

 

 

 

SIDLEY AUSTIN We BEING LOS ANGELES
SIDLEY AUSTIN LLP 1501 K STREET, N.W. BRUSSELS NEW YORK
yrs _ WASHINGTON. D.C. 20005 CHICAGO SAN FRANCISCO
S I L E Y| (202) 736 8000 DALLAS SHANGHA|
(202) 736 87171 FAX FRANKFURT SINGAPORE
GENEVA SYDNEY
| HONG KONG TOKYO
| LONDON WASHINGTON, DC
hropers@sidley.com
(202) 736-8301 FOUNDED 13665

 

May 8, 2009

Babak Talebi
1557 Westmoreland St.
McLean, VA 22101

Re: Court-ordered Response to Subpvgena in Parsi et al. v, Hassan, Case No. 08-705
Dear Mr. Talebi:

] received your email, dated May 5, 2009, in response to the subpoena served on you in
the above-captioned matter. You stated that you do not have any documents that are responsive
to the subpoena.

This letter serves as a reminder that the subpoena requires you to provide us with ail
responsive documents. The fact that NIAC has a copy of the document does not relieve you of
your obligation to produce the document. For example, if you have a copy of the email attached
as Exhibit A, you must provide us with that email even though we already have a copy of it, |
expect to receive this and simslar communications that you have,

Please review your files, including emails, calendars, computer files, and send them to
my office at 1501 K St. N.W., Washington, D.C. 20001 before June 1, 2009.

1 would also like to schedule your deposition for the week of June 8 — June 12. Please let
me know which date is best for you. Please bring your laptop to the deposition,

Sincerely,

 

cc: Afshin Pishevar
Timothy E. Kapshandy
Bradford A. Berenson

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Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 18 of 57

SIDLEY!

Babak Talebi
May 8, 2009
Page 2

Exhibit A

Sent: Thursday, March 27, 2008 8:14:23 AM
Subject: IMMEDIATE ACTION NEEDED: Send an email to Senator Feinstein

 

Dear Iranians in California,

Your Senator could be the key to kick-starting the drive for smart US policy on
Iran, Senator Dianne Feinstein has in the last few years emerged asa
leading voice of reason on Iran. She has recently come out in support of
comprehensive talks with Iran in the San Francisco Chronicle and has stressed
the need for basic communication between Washington and Tehran on CNN.
She has also resisted significant pressure to sign-on to a major new sanctions
bill in Congress.

But right now, front groups for the Mujahedine-e Kalg -- claiming to
represent ALL Iranian Americans In California -- are pressuring the
Senator to cease her constructive efforts against war. They are pressuring her
to concede to the paralysis of sanctions and rhetoric that has consumed many
US policymakers on Iran.

Senator Feinstein is in a position of significant power in the Senate, with the
potential to reframe the debate end take the lead on crafting a smart policy
on Iran for the next administration. But to continue her leadership, she needs
to know that Iranian Americans support her initiative.

If the Iranian-American community fails to show her the support she
deserves, we may lose her as a critical voice against war with Iran,

Show the Senator your support for her leadership towards a better Iran
policy. Please click on the link below and send her a message now! And do not
forget to encourage your friends and family to do the same.

http: //capwiz.com/niacouncil/issues/a lert/?alertid=11187816

Sincerely,
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 19 of 57
rt i rR nannatE

SIDLEY!

Babak Talebi
May &, 2009
Page 3

Babak Talebi
Olrector of Community Relations
National Franian American Council
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 20 of 57

ATTACHMENT C
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 21 of Pdve lof4

Rogers, HL

From: Rogers, HL

Sent: Tuesday, May 26, 2009 5:15 PM

To: ‘Babak Talebi’

Cc: ‘ap@pishevarlegal.com’, |g@pishevarlegal.com; Kapshandy, Timothy E., Jillson, Elisa K.
Subject: RE: NIAC - RE’ Subpoena Noncompliance

Mr. Talebi,

We still have not heard from you regarding documents and your deposition. Non-comphance with the court-
ordered subpoena will result in the court holding you in contempt. See Fed. R. Civ. P 46(e). The penalties for
contempt of court are broad and can involve fines as well as imprisonment. Please respond to our numerous
inquiries and requests to comply with the court order, otherwise we will have no alternative but to initiate
contempt proceedings.

Please contact me if you have any questions.

HL

 

HL Rogers | Sidley Austin LLP

1501 K Street, NW. | Washington, D.C. 20005
Tel. 202.736.8301 | Fax: 202.736.8711
hrogers@sidley.com

From: Rogers, HL
Sent: Thursday, May 21, 2009 4:37 PM

To: 'Babak Talebi’

Cc: ‘ap@pishevarlegal.com'; Kapshandy, Timothy E.; Jillson, Elisa K.
Subject: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi,

Unfortunately, | have not heard back from you since this letter was sent. As soon as possible, please
let me know the best date for your deposition the week of June 8-12. In addition, please send any and
all responsive documents (including emails, calendars, computer files, hard capy documents, ete.)
immediately

From: Rogers, HL

Sent: Friday, May 08, 2009 4:00 PM

To: Babak Talebi

Cc: ap@pishevariegal.com; Kapshandy, Timothy E.; Jillson, Elisa K.
Subject: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi

Please see our attached response, which has also been mailed to you.

6/22/2009
 

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HAL

From: Babak Talebi [mailto:babaktalebi@gmail.com]
Sent: Tuesday, May 05, 2009 8:48 PM

To: ap@pishevarlegal.com

Cc: Rogers, HL

Subject: Re: NIAC - RE: Subpoena Nencompliance

 

HL,

Tam in posetion of no documents that I am aware of. Any documents that I had a part
in while at NIAC are in NIAC’s posetion at this time.

Babak
On May 5S, 2009 5:36 PM, <ap@pishevarlegal.com> wrote:

Mr. Talebi has contacted me and I will be finding out what
documents if any there are to produce in the near future. Please
afford Mr. Talebi, a little more time to respond. Obviously, he is a
witness and not my client. So that is the extent of my involvement
there.

Thank you for your courtesy.

Sincerely,

A.P, Pishevar, Esq.
Jefferson Plaza - Suite 316
600 E. Jefferson Street
Rockville, MD 20852
Tel.(301)279-8773

www. PishevarLegal.com

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PISHEVARS ASSOCIATES, P.C.

 

ATTORNEYS

((((CREADER BEWARE: Unencrypted, unauthenticated Internet
e-mail is inherently insecure. Internet messages may be corrupted
or incomplete, or may incorrectly identify the sender. ((NOTICE:
Confidentiality notice: The unauthorized disclosure or interception
of email is a federal crime; 18 U.S.C. Sec. 2517(4). This electronic
message transmission contains information which may be
confidential or privileged. The information is intended solely for
the recipient, and use by any other party is not authorized. This is
net legal advice nor does this communication establish an

6/22/2009

 
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6/22/2009

attorney-client relationship. If you are not the intended recipient,
be aware that any disclosure, copying, distribution or use of the
contents of thisinformation is prohibited. If you have received this
electronic transmission in error, please immediately notify us.
Thank you.))

----- Original Message-----

From: "Rogers, HL” <hrogers@Sidley.com>

Sent: Monday, May 4, 2009 5:06pm

To: babaktalebi@gmail.com

Ce: "Kapshandy, Timothy E.” <tkapshandy@sidley.com>, "Jillson,
Elisa K." <ejillson@Sidley.com>, "Lynch, Kelly”
<kjlynch@sidley.com>, ap@pishevarlegal.com

Subject: Subpoena Noncompliance

Mr, Talebi,

I'm attaching a letter to this email that has also been sent to you via regular
mail advising you that you are overdue in responding to the subpoena sent
to you on February 19, 2009 requiring production of documents on May 1,
2009. I have also attached a copy of the original subpoena. Please respond
immediately to the subpoena. If you fail to do so, we will seek relief fram
the Court, which has the authority to hold you in contempt of court for your
failure to respond,

Regards,

HL

 

 

 

HL Rogers | Sidley Austin LLP

1501 K Street, N.W. | Washington, D.C. 20005
Tel: 202.736.8301 | Fax: 202.736.8711
hrogers@aidley.com

<<Untitled. pdf>> <<Untitled pdf>>

 

6 A a ee a any ty ee oe

IRS Circular 230 Disclosure: To comply with certain U.S. Treasury
regulations, we inform you

that, unless expressly stated otherwise, any U.S. federal tax advice
contained in this

communication, including attachments, was not intended or
written to be used, and cannot be

used, by any taxpayer for the purpose of avoiding any penalties
that may be imposed on such

taxpayer by the Internal Revenue Service. In addition, if any such

 
 

6/22/2009

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tax advice is used or referred

to by other parties in promoting, marketing or recommending any
partnership or other entity,

investment plan or arrangement, then (i) the advice should be
construed as written in connection

with the promotion or marketing by others of the transaction(s) or
matter(s) addressed in this

communication and (ii) the taxpayer should seek advice based on
the taxpayer's particular

circumstances from an independent tax advisor.

FRE IRI IRR TI ROI RII IIIS FHI TH GOR EEE
This e-mail is sent by a law firm and may contain information th
Tf you are not the intended recipient, please delete the e-mail

immediately.

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ATTACHMENT D
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 26 Of Page | of 2

Rogers, HL

From: Rogers, HL

Sent: Monday, June 01, 2009 5:35 PM

To: ‘Babak Tatebi’

Ge: Kapshandy, Timothy E., ‘ap@pishevarlegal.com’; 'ig@pishevariegal.com’: Jillson, Elisa K,
Subject: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi

I'm still awaiting your response as to whether you have responsive documents and dates in June when you
are available for a deposition. Please let me know as soon as possible. Thanks

HL

From: Rogers, HL

Sent: Wednesday, May 27, 2009 7:26 PM

To: Babak Talebi

Cc: Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K.
Subject: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi,

Thank you for the response. In an effort to facilitate this process allow me to clarify a couple points. The subpoena
you were served does not request only "NIAC documents.” You have been subpoenaed in your individual capacity
and not as a NIAC employee. The subpoena, by its terms, includes “All communications with NIAC, any of its staff,
interns, officers, or board members." This includes any and all emails, letters, or other communication that you have
had with anyone at NIAC, including Mr. Parsi up to and including the date you were served with the subpoena. This
would also include any communications you have had with Mr. Pishevar since he is not serving as your attorney. The
subpoena also requests any and al] communications between you and anyone at ITC, AIC, and the U.S. or Iranian
government.

It would be surprising, to say the least, if you in fact have no such communications. However, if you continue to
maintain that is the case, please provide that position to us in writing as well as when and why you destroyed these
documents. Also, please provide us the name of your personal internet provider.

As to the date of your subpoena, due to delays on the part of NIAC in producing documents and the possibility that
you will still provide documents responsive to the subpoena, we will need to hold the deposition later in June. Please
provide us with dates in June that you are available, Thank you.

HL

From: Babak Talebi [mailto:babaktalepi@gmail.com]

Sent: Tuesday, May 26, 2009 £1:09 PM

To: Rogers, HL

Ce: Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K.
Subject: Re; RE: NIAC - RE: Subpoena Noncompliance

Hello all,

6/22/2009
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 27 of Pdge 2 of 2

J am sorry, but ] thought I did respond to the email. 1 do not have any NIAC documents in
my posetion, nor access to my former NIAC email account.

] have also moved to Maryland, and have been engaded with my move issues... the june Ist
deposition is fine... 1 will be there, please email me the details of where I need to be and at
what time, I'm sorry if | may have been seen as uncooperative by you, 1 was under the
impression was being, and have every intent to be, as cooperative with this process as can
be.

Thanks for the emails.
Babak
On May 26, 2009 5:38 PM, "Rogers, HL" <hrogers@sidley.com> wrote:

AP,

We also sent specific inatructions to Mr. Talebi clarifying which documents are
responsive to the subpoena and have not heard from him since. In the absence of
any response we must assume that he has documents responsive to that requeat.
Further, the subpoena orders him to appear on June 1 for a deposition. We have
tried to contact Mr. Talebi ta schedule this deposition and have been met by
silence.

From: Kapshandy, Timathy E,
Sent: Tuesday, May 26, 2009 5:28 PM
To: ap@pishevarlegal.com; Rogers, HL
Cc: Babak Talebi; ja@pishevarlegal.com; Jillson, Elisa K.

> Subject; RE: NIAC - RE: Subpoena Noncompliance

> Actually, AP, he replied that he only had copies of what NIAC had, not
that he had nothing. But, ...

6/22/2009
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ATTACHMENT E
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 29 of 57

From: Rogers, HL

To: Babak Talebi <babaktalebi@gmail.com>

Ce: Kapshandy, Timothy £.; ap@pishevarlegal.com <ap@pishevarlegal.com>; jg@pishevarlegal.com
<jg@pishevariegal.com>; Jillson, Elisa K.

Sent: Tue Jun 02 08:28:47 2009

Subject: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi,

You can reach me at 202 736 8301

From: Babak Talebi [mailto:babaktalebi@gmail.com]

Sent: Monday, June 01, 2009 9:14 PM

To: Rogers, HL

Cc: Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K.
Subject: Re: RE; RE: NIAC - RE: Subpoena Noncompliance

Can you please give me a number where I can call uou tomorrow please?
On Jun 1, 2009 5:37 PM, "Rogers, HL” <hrogers@sidley.com> wrote:

Mr. Talebi,

I'm still awaiting your response as to whether you have responsive documents and dates in June
when you are available for a deposition. Please let me know as soon as possible. Thanks

HL

From: Rogers, HL

Sent: Wednesday, May 27, 2009 7:26 PM

To: Babak Talebi

Cc: Kapshandy, Timothy £.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K.
Subject: RE: RE: NIAC - RE: Subpoena Noncompliance

> Mr. Talebi, > > Thank you tor the response. In an effort to facilitate this process allow me to
cl...

As to the date of your subpoena, due to delays on the part of NIAC in producing documents and the possibility that
you will still provide documents responsive to the subpoena, we will need to hold the deposition later in June. Please
provide us with dates in June that you are available. Thank you.

HL

>> From: Babak Talebi [mailto:babakta ! ale b i@ gmail.com] .
Sent: Tuesday, May 26, 2009 11:09 PM
To: Rogers, Hi

Cc: Kapshandy, Timothy E.; ap@pishevariegal.com; ja@pishevarlegal.com; Jillson, Elisa K.
Subject: Re: RE: NIAC - RE: Subpoena Noncompliance
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>> Hello all, >> >> I am sorry, but I thought I did respond to the email. I do not have any NIAC
do...

IRS Circular 230 Disclosure: To comply with certain U.S. Treasury regulations, we inform you
that, ...

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ATTACHMENT F
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 32 of Pgge 1 of 3

Rogers, HL

From: Rogers, HL

Sent: Tuesday, June 16, 2009 9:57 AM

To: Babak Talebi

Cc: Kapshandy, Timothy E., ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K.
Subject: RE: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi,

l understand that much is going on right now in relation to Iran and the recent election. However, you were
served months before the election, your documents were due on May 1 (over a month before the election),
and you acknowledged having responsive documents and we agreed on a plan going forward for production
on June 2 (more than a week before the election). Given the substantial amount of time we have already
allowed you to have and the fact that you are now more than a month past the subpoena deadline and in
violation of the subpoena issued by the D.C. Federal District Court, we cannot give you more time. Please
send me the exemplars we discussed ASAP.

Regards,
HL

From: Babak Talebi [mailto:babaktalebi@gmail.com]

Sent: Monday, June 15, 2009 1:49 PM

To: Rogers, HL

Cc: Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K,
Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Rogers...

the current [ranian election events and protests have taken precedence... I am in the middle of
organizing rallies in DC and coordinating with other cities. Please understand the significance of
what is going on and I ask you to please bear with me.

I will comply fully with the subpenea... but I ask for your forbearance.

thanks.

babak

On Mon, Jun 15, 2009 at 8:43 AM, Rogers, HL <hrogers@sidley.com> wrote:

Mr. Talebi,

As we discussed on June 2, you are not in compliance with the subpoena you received. As you
communicated to me on the phone on June 2, you have documents responsive to the subpoena. In
an effort to work with you in good faith, we agreed on the 2nd that you would spend a couple days
reviewing those documents, that you would send me a couple exemplars of the documents you were
finding that were responsive, and that we would then discuss which you should produce, which you

6/22/2009
 

Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 33 of ibe 2 of 3

could hold off on for now, and whether we needed to discuss any sort of confidentiality agreement.

However, I have net heard from you since June 2. My good faith attempts to allow you to preduce
according to the subpoena past due have as yet come to nothing. Please promptly reply to thia
email, send along the documents as discuased, or | will have to contact the court regarding
contempt proceedings. I would like to avoid the latter. Please contact me ASAP. Thank you.

HL

From: Rogers, HL
Sent: Monday, June 08, 2009 11:04 AM

To: 'babaktalebi@gmail.com'; ‘ap@pishevarlegal.com

Cc: Kapshandy, Timothy E.; ‘ig@pishevarlegal.com’; Jillson, Elisa K.

Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi,

Let me know where yau are on the review of your documents. | would like discuss in the next
couple days. Thanks

From: Rogers, HL

To: Babak Talebi <babaktalebi@gmail.com>; ap@pishevarlegal.com <ap@pishevarlegal.com>
Cc: Kapshandy, Timothy E.; jg@pishevarlegal.com <jg@pishevarlegal.com>; Jillson, Elisa K.
Sent: Tue Jun 02 12:14:32 2009

Subject: RE: RE: RE; RE: NIAC - RE: Subpoena Noncompliance

Mr. Talehi,

As we discussed on the phone, once we have had a chance to see your documents we will
schedule the deposition. Thanks

i rts a eee ee —-

From: Babak Talebi [mailto:babaktalebi@gmail.com]
Sent: Tuesday, June 02, 2009 11:48 AM
To: ap@pishevarlegal.com

Cc: Rogers, HL; Kapshandy, Timothy E.; ja@pishevarlegal.com; Jillson, Elisa K.

Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance
ap + HL,
Does thursday the 4th work for everyone?
Bt
On Jun 2, 2009 9:38 AM, <ap@pishevarlegal.com> wrote:
HL: I will need to be there for any depo. FYI, I am out of the

country from the 5th thru the 14th. Please also provide dates for
your client for depos when he is here in the DC area. Thank you.

6/22/2009
 

Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 34 of Pége 3 of 3

Sincerely, A.P. Pishevar, Esq. Jefferson Plaza - Suite 316 600 E.
Jefferson Street Rockville, ...

Sent; Tuesday, June 2, 2009 8:28am To: "Babak Talebi"”
<babaktalebi@gmail.com>

Ce: “Kapshandy, Timothy E.” <tkapshandy@sidley.com>,
ap@pishevarlegal.com, jg@pishevarlegal.com, "Ji...

IRS Circular 230 Disclosure: To comply with certain U.S, Treasury regulations, we inform you
that, unless expressly stated otherwise, any U.S. federal tax advice contained in this
communication, including attachments, was not intended or written to be used, and cannot be
used, by any taxpayer for the purpose of avoiding any penalties that may be imposed on such
taxpayer by the Internal Revenue Service. In addition, if any such tax advice is used or referred
to by other parties in promoting, marketing or recommending any partnership or other entity,
investment plan or arrangement, then (i) the advice should be construed as written in connection
with the promotion or marketing by others of the transaction(s) or matter(s) addressed in this
communication and (ii} the taxpayer should seek advice based on the taxpayer's particular
circumstances from an independent tax advisor.

FORRES GIGI GIGI GIGI GIG IIOIGIOI IOI IO IIR RIOR RI IR RHR IG tae ea kak et

This e-mail is sent by a law firm and May contain information that is privile

If you are not the intended recipient, please delete the e mail and any attacl
immediately.

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"YOU have the power!"
~ Howard Dean M.D.

"Yes we can!"
~ Barack Cbama

6/22/2009

 
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ATTACHMENT G
Page | of 4
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 36 of 57

Rogers, HL

From: Rogers, HL

Sent: Monday, June 22, 2009 9:56 PM

To: ‘Babak Talebi'

Cc: Kapshandy, Timothy E., 'ap@pishevarlegal.com’: 'ig@pishevarlegal.com’; Jillson, Elisa K.,

Jensen, Peter
Subject: RE: RE: RE: RE: NIAC - RE: Subpoena Noncompliance
Attachments: Untitled pdf, Hassan - Motion to Compel Production.DOC

Mr. Talebi,

[ have received no answer to the below email. Unfortunately, you have continued to refuse to obey the court
ordered subpoena issued on you February 19, 2009. Our next step will be ta file a motion to compel with the
judge in the case pending in the D.C. District Court. Attached please find a draft of the motion to compel you
to obey the subpoena and produce the responsive documents you have acknowledged are in your possession.
We would much rather work this out with you without having to turn to the Court to compel your
compliance. However, our months of negotiation and good will have led to no results and we have come to
the conclusion that nothing short of an order to compel or an order to hold you in contempt from the Court
will lead to any results. Please consider this our last attempt to confer with you and work out a solution to
your resistance to the court-issued subpoena, Unless I hear from you by close of business tomorrow and
receive the set of exemplars we agreed you would send to me during our June 2 phone call, I will file this
motion with the Court.

Regards,

HL

From: Rogers, HL

Sent: Tuesday, June 16, 2009 9:57 AM

To: Babak Talebi

Cc: Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K.
Subject: RE: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi,

I understand that much is going on right now in relation to Iran and the recent election. However, you
were served months before the election, your documents were due on May 1 (over a month before the
election), and you acknowledged having responsive documents and we agreed on a plan going forward
for production on June 2 (more than a week before the election). Given the substantial amount of time
we have already allowed you to have and the fact that you are now more than a month past the
subpoena deadline and in violation of the subpoena issued by the D.C. Federal District Court, we
cannot give you more time. Please send me the exemplars we discussed ASAP.

Regards,
HL

From: Babak Talebi [mailto: babaktalebi@gmail.com]
Sent: Monday, June 15, 2009 1:49 PM
To: Rogers, HL

7/31/2009
7/31/2009

Page 2 of 4
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Ce: Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K.
Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Rogers...

the current Iranian election events and protests have taken precedence... I am in the middle
of organizing rallies in DC and coordinating with other cities. Please understand the
significance of what is going on and I ask you to please bear with me.

I will comply fully with the subpenea... but I ask for your forbearance...
thanks.
babak

On Mon, Jun 15, 2009 at 8:43 AM, Rogers, HL <hrogers@sidley.com> wrote:

Mr. Talebi,

As we discussed on June 2, you are not in compliance with the subpoena you received. As you
communicated to me on the phone on June 2, you have documents responsive to the
subpoena. In an effort to work with you in goad faith, we agreed on the 2nd that you would
spend a couple days reviewing those documents, that you would send me a couple exemplars
of the documents you were finding that were responsive, and that we would then discuss
which you should produce, which you could hold off on for now, and whether we needed to
discuss any sort of confidentiality agreement.

However, I have not heard from you since June 2. My good faith attempts to allow you to
produce according to the subpoena past due have as yet come to nothing. Please promptly
reply to this email, send along the documents as discussed, or ] will have to contact the court
regarding contempt proceedings. I would like to avoid the latter. Please contact me ASAP.
Thank you.

HL

From: Rogers, HL

Sent: Monday, June 08, 2009 11:04 AM

Ta: 'babaktalebi@gmail.com’; 'ap@pishevarlegal.com'

Cc: Kapshandy, Timothy E.; 'jg@pishevarlegal.com’; Jillson, Elisa K.

Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance
Mr. Talebi,

Let me know where you are on the review of your documents. | would like discuss in the
next couple days. Thanks

From: Rogers, HL
To: Babak Talebi <babaktalebi@gmail.com>; ap@pishevarlegal.com
<ap@pishevarlegal.com>

 
7/31/2009

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Ce: Kapshandy, Timothy E.; jg@pishevarlegal.com <jg@pishevarlegal.com>; Jillson, Elisa

K

Sent: Tue Jun 02 12:14:32 2009
Subject: RE: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

My. Talehbi,

As we discussed on the phone, once we have had a chance to see your documents we
will schedule the deposition. Thanks

From: Babak Talebi [mailto:babaktalebi@gmail.com]

Sent: Tuesday, June 02, 2009 11:48 AM

To: ap@pishevarlegal.com

Cc: Rogers, HL; Kapshandy, Timothy E.; jg@pishevarlegal.com; Jillson, Elisa K.
Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

ap + HL,

Does thursday the 4th work for everyone?

Bt

On Jun 2, 2009 9:38 AM, <ap@pishevarlegal.com> wrote:

HL: I will need to be there for any depo. FYI, I am out of
the country from the 5th thru the 14th. Please also provide
dates for your client for depos when he is here in the DC
area. Thank you.

Sincerely, A.P. Pishevar, Esq. Jefferson Plaza - Suite 316
600 E. Jefferson Street Rockville, ...

Sent: Tuesday, June 2, 2009 8:28am To: "Babak Talebi”
<babaktalebi@gmail.com>

Ce: "Kapshandy, Timothy E." <tkapshandy@sidley.com>,
ap@pishevarlegal.com, jg@pishevarlegal.com, “Ji...

 

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cannot be

used, by any taxpayer for the purpose of avoiding any penalties that may be imposed on

such

taxpayer by the Internal Revenue Service. In addition, if any such tax advice is used or
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referred

to by other parties in promoting, marketing or recommending any partnership or other
entity,

investment plan or arrangement, then (i) the advice should be construed as written in
connection

with the promotion or marketing by others of the transaction(s) or matter(s) addressed in
this

communication and (11) the taxpayer should seek advice based on the taxpayer's particular
circumstances from an independent tax advisor.

KKK ted kk a KK IK KR KK RK RK KIRK KKK IK KEKE KEKE KKK KKK EKER K RHEE
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immediately

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~ Howard Dean M.D.

"Yes we can!"
~ Barack Obama
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ATTACHMENT H
1 of 6
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 41 of 57 28e °

Rogers, HL

From: Rogers, HL
Sent: Wednesday, June 24, 2009 4:43 PM
To: Babak Talebi

Cc: Kapshandy, Timothy E., ap@pishevarlegal.com:; jg@pishevarlegal.com; Jillson, Elisa K.. Jensen,
Peter

Subject: RE. RE: RE: RE: NIAC - RE: Subpoena Noncompliance
Mr. Talebi,

Thank you for making yourself available this afternoon to discuss production under the outstanding
subpoena. As we agreed to over the phone, I will expect a set of documents from you by close of business
Friday. If] have not received the documents by then I will file the motion to compel Friday night.

Regards,

HL

From: Babak Talebi [mailto: babaktalebi@gmail.com]

Sent: Wednesday, June 24, 2009 2:04 PM

To: Rogers, HL

Cc: Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jillson, Elisa K.; Jensen, Peter
Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

I will be available at 4... you can call me at my cell first (202.340.0408) or on the home line
(410.480.8311)

On Wed, Jun 24, 2009 at 1:15 PM, Rogers, HL <hrogers@sidley.com> wrote:
I will call this afternoon. Does 4pm work for you?

Sent: Wednesday, June 24, 2009 12:31 PM
To: Rogers, HL

Cc: Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com; Jilison, Elisa K.;
Jensen, Peter

 

Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

call me at 410 480 8311 today.

On Wed, Jun 24, 2009 at 11:14 AM, Rogers, HL <hrogers@sidley.com> wrote:
Mr. Talebi,

I have still heard nothing from you. Please provide me with your phone number today so
that we can discuss. If] have not heard from you by the close of business today I will file
the motion to compe! previously sent to you.

HL

7/31/2009
7/31/2009

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Page 2 of 6

From: Rogers, HL

Sent: Monday, June 22, 2009 9:56 PM

To: ‘Babak Talebi'

Cc: Kapshandy, Timothy E.; ‘ap@pishevarlegal.com’; 'jg@pishevarlegal.com’; Jillson,
Elisa K.; Jensen, Peter

Subject: RE: RE: RE: RE: NIAC - RE: Subpoena Noncompliance
Mr. Talebi,

I have received no answer to the below email. Unfortunately, you have continued to
refuse to obey the court ordered subpoena issued on you February 19, 2009. Our
next step will be to file a motion to compel with the judge in the case pending in the
D.C. District Court. Attached please find a draft of the motion to compel you to obey
the subpoena and produce the responsive documents you have acknowledged are in
your possession, We would much rather work this out with you without having to
turn to the Court to compel your compliance. However, our months of negotiation
and good will have led to no results and we have come to the conclusion that nothing
short of an order to compel or an order to hold you in contempt from the Court will
lead to any results. Please consider this our last attempt to confer with you and
work out a solution to your resistance to the court-issued subpoena. Unless I hear
from you by close of business tomorrow and receive the set of exemplars we agreed
you would send to me during our June 2 phone call, I will file this motion with the
Court.

Regards,

HL

From: Rogers, HL
Sent: Tuesday, June 16, 2009 9:57 AM
To: Babak Talebi

Jillson, Elisa K.
Subject: RE: RE: RE: RE: NIAC - RE: Subpoena Noncompliance
Mr. Talebi,

I understand that much is going on right now in relation to Iran and the
recent election. However, you were served months before the election, your
documents were due on May | (over a month before the election), and you
acknowledged having responsive documents and we agreed on a plan going
forward for production on June 2 (more than a week before the election).
Given the substantial amount of time we have already allowed you to have
and the fact that you are now more than a month past the subpoena deadline
and in violation of the subpoena issued by the D.C. Federal District Court, we
cannot give you more time. Please send me the exemplars we discussed ASAP.

Regards,
HL
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From: Babak Talebi [mailto:babaktalebi@gmail.com]
Sent: Monday, June 15, 2009 1:49 PM

To: Rogers, HL

Ce: Kapshandy, Timothy E.; ap@pishevarlegal.com;
jg@pishevarlegal.com; Jillson, Elisa K.

Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance
Mr. Rogers...

the current Iranian election events and protests have taken
precedence... ] am in the middle of organizing rallies in DC and
coordinating with other cities. Please understand the significance of
what is going on and I ask you to please bear with me.

I will comply fully with the subpenea... but I ask for your
forbearance...

thanks.
babak

On Mon, Jun 15, 2009 at 8:43 AM, Rogers, HL
<hrogers@sidley.com> wrote:

Mr. Talebs,

As we discussed on June 2, you are not in compliance with the
subpoena you received. As you communicated to me on the phone on
June 2, you have documents responsive to the subpoena. In an effort
to work with you in good faith, we agreed on the 2nd that you would
spend a couple days reviewing those documents, that you would send
me a couple exemplars of the documents you were finding that were
responsive, and that we would then discuss which you should
produce, which you could hold off on for now, and whether we needed
to discuss any sort of confidentiality agreement.

However, I have not heard from you since June 2. My good faith
attempts to allow you to produce according to the subpoena past due
have as yet come to nothing. Please promptly reply to this email,
send along the documents as discussed, or I will have to contact the
court regarding contempt proceedings, I would like to avoid the
latter. Please contact me ASAP, Thank you.

HL

From: Rogers, HL

Sent: Monday, June 08, 2009 11:04 AM

To: ‘babaktalebi@gmail.com’; 'ap@pishevarlegal.com'

Cc: Kapshandy, Timothy E.; 'jg@pishevarlegal.com’; Jillson, Elisa
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K.

Subject: Re: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr. Talebi,

Let me know where you are on the review of your documents. |
would like discuss in the next couple days. Thanks

From: Rogers, HL

To: Babak Talebi <babaktalebi@gmail.com>;
ap@pishevarlegal.com <ap@pishevarlegal.com>

Cc: Kapshandy, Timothy E.; jg@pishevarlegal.com
<jg@pishevarlegal.com>; Jillson, Elisa K.

Sent: Tue Jun 02 12:14:32 2009

Subject: RE: RE: RE: RE: NIAC - RE: Subpoena Noncompliance

Mr Talebi,

As we discussed on the phone, once we have had a chance to
see your documents we will schedule the deposition. Thanks

From: Babak Talebi [mailto:babaktalebi@gmail.com]
Sent: Tuesday, June 02, 2009 11:48 AM

To: ap@pishevarlegal.com

Cc: Rogers, HL; Kapshandy, Timothy E.;
jg@pishevarlegal.com; Jillson, Elisa K.

Subject: Re: RE: RE: RE: NIAC - RE: Subpoena
Noncompliance

ap + HL,
Does thursday the 4th work for everyone?
Bt

On Jun 2, 2009 9:38 AM,
<ap@pishevarlegal.com> wrote

HL: I will need to be there for any
depo. FYI, I am out of the country
from the 5th thru the 14th. Please
also provide dates for your client for
depos when he is here in the DC area.
Thank you.

Sincerely, A.P. Pishevar, Esq.
Jefferson Plaza - Suite 316 600 E.
Jefferson Street Rockville, ...
7/31/2009

age 5 of 6
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 45 of 57° ee

Sent: Tuesday, June 2, 2009 8:28am
To: "Babak Talebi"
<babaktalebi@gmail.com>

Ce: "Kapshandy, Timothy E."
<tkapshandy@sidley.com>,
ap@pishevarlegal.com,
jg@pishevarlegal.com, "Ji...

 

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tax advice is used or referred

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partnership or other entity,

investment plan or arrangement, then (i) the advice should be
construed as written in connection

with the promotion or marketing by others of the transaction(s) or
matter(s) addressed in this

communication and (ii) the taxpayer should seek advice based on
the taxpayer's particular

circumstances from an independent tax advisor.

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~ Howard Dean M.D.

"Yes we can!"
~ Barack Obama
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ATTACHMENT I
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Rogers, HL

From: Rogers, HL

Sent: Monday, July 20, 2009 11:44 AM
To: ‘Babak Talebi'

Cc:

‘ap@pishevarlegal.com’; 'jg@pishevarlegal.com’: Kapshandy, Timothy E., Jensen, Peter

Subject: RE: Document submission

Mr. Talebi,

We have still not received your production. Please contact me today. If] have not heard from you by today, I
will file the motion to compel that I previously circulated to you.

From: Rogers, HL

Sent: Monday, July 13, 2009 8:55 AM

To: Babak Talebi

Cc: ap@pishevarlegal.com; jg@pishevarlegal.com; Kapshandy, Timothy E.; Jensen, Peter
Subject: RE: Document submission

Mr. Talebi,

We are waiting for your production. Please let me know today when you plan to deliver to us. Thank

you.

HL

7/31/2009

From: Babak Talebi [mailto:babaktalebi@gmail.com]

Sent: Friday, June 26, 2009 5:18 PM

To: Rogers, HL

Cc: ap@pishevarlegal.com; jg@pishevarlegal.com; Kapshandy, Timothy E.; Jensen, Peter
Subject: Re: Document submission

Thank you HL - I have sent some 12/13 examples... I will use your guidance .

on the technical issue of saving them as .pst format... I dont know how to do that? I'll ask a
friend I guess.

AP is not providing me legal advice - but is he not entitled to provide guidance as a party to
the suit?

I will be gone until late tonight and will study your response to the examples I have
provided today. There are a lot of 'mass' emails sent by NIAC to me without response that I
do not think qualify (please clarify) and a lot of emails that I've sent out to my own personal
email list (non-NIAC related) which simply included NIAC staffers as recipients which
again do not qualify in my current estimation. those are the majority of emails...

Also - thank you for bearing with me... I am coordinating the organization of one last major
protest tomorrow, after which I should be able to spend a few unfettered days on further
complying with this subpoena request.
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Have a great weekend.
Babak

On Fri, Jun 26, 2009 at 5:07 PM, Rogers, HL <hrogers@sidley.com> wrote:

Babak,

Thank you for sending these along. We appreciate your efforts and understand that you are
especially busy right now. The best way to produce the documents will be to save in .pst
format and burn to a ed.

As to what is responsive, please look back to the subpoena. The subpoena includes, among
other things, communications to or from government officials (including senators,
representatives, and staff) on any matter re Iran or NIAC, communications with NIAC staff,
and documents including funds being sent between NIAC and any entity in Iran.

We do not want strictly personal emails. Emails to family members in Iran on personal
issues are not of interest or relevance. We do not want this to be over-burdensome and will
continue to limit this request to the extent possible.

I will send you responses to the emails you have sent ind icating whether they are responsive
or not. That will give you some guidance on what needs and does not need to be produced.
Also, please let me know if A.P_ is advising you on any of these matters (A.P., we don't want
to run into the problem of interacting directly with Mr. Talebi if you are advising him and
thus in some acting as his de facto attorney).

The email exemplar below is responsive. Please produce all such documents. Thanks

HL

Sent: Friday, June 26, 2009 4:01 PM
To: ap@pishevarlegal.com; jg@pishevarlegal.com; Rogers, HL
Subject: Document submission

HE;

I have been going through the emails I have exchanged with Dr. Parsi as well as
other staff at NIAC through my own gmail account which I have access too. The
vast majority of them are simply newsletters or mass-emails that NIAC sends out to

its members.

Of those, a few such this example below are conversations where | responded in
some fashion to the mass-email.

There are some personal exchanges as well which I will try to find.

but the paramaters of 'every single exchange’ are overbroad and burdensome to the
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extreme. so we will need to agree on a set of parameters that are both useful to you
and realistic on my end.

Also - on the production side... what is the best means of collecting these emails?
do you want me to ‘forward’ them to you individually? what other option exists?

On emails with inidividuals inside Iran - I have many emails of personal nature
with family members in Iran including pictures, holiday greetings, and general
conversational email that is irrelevant to the document request you have made
which i will not produce to preserve my family's safety and privacy. They have
zero relevance to any 'government' or 'policy' or 'iran' related framework.

meanwhile - I will forward a numver of emails to you now... to see which ones are
useful and need to be produced ...

Mr. Pishavar, as NIAC's attorney, I will also cc you in any emails I forward to Mr.
Rogers, also, if there are any guidances I should be made aware of, please do so
since I am not retaining a personal lawyer for this case.

thank you gentelman... and below is the first i'm forwarding...
Babak Talebi

* This email dates before my employment with NIAC.

wn nennann- Forwarded message ----------

From: Babak Talebi <babaktalebi@gmail.com>

Date: Thu, Mar 23, 2006 at 2:44 AM

Subject: Re: Regarding your letter to Bill O'Reilly
To: Trita Parsi <tparsi@niacouncil.org>

well, I just posted the entire letter online... go read it and tell me if you want me to
cut parts of it out...

http://www.dailykos.com/story/2006/3/23/1 3614/7742

On 3/23/06, Trita Parsi <tparsi@niacouncil.org> wrote:

Problem is that we don't want all our communications to be accessible to the other
side ..

From: Babak Talebi [mailto: babaktalebi@gmail.com]
Sent: Thursday, March 23, 2006 12:32 AM
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To: Trita Parsi
Subject: Re: Regarding your letter to Bill O'Reilly

I will try to post just parts of it... but It really would have been great to link to it
like I did in the last diary. specially because it legitimizes the source (both me
and NIAC). having a link will also give more weight to the "2000" number.

is this not at all possible then?

Babak Talebi

On 3/23/06, Trita Parsi < tparsi@niacouncil.org> wrote:

Sorry, don't have it as htmi. Its probably better if you post only parts of it. tp

From: Babak Talebi [mailto: babaktalebi@gmail.com]
Sent: Wednesday, March 22, 2006 11:49 PM
To: Trita Parsi

Subject: Re: Regarding your letter to Bill O'Reilly

Trita,

Do you have this letter with an html somewhere? | would like to post
another message on dailykos just like the last one, and would like to be

able to link to this letter (and post parts of it with attribution).

If you could send me a link, or make sure this is up somewhere, I'd love
to try and get a repeat of the last episode.
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Thanks,

Babak Talebi

On 3/21/06, Trita Parsi < tparsi@niacouncil.org> wrote:

Dear Babak,

I write to give you an update on the situation regarding Mr.
O'Reilly's comments and to request your continued support.

Right before the Nowruz celebrations, our community was
confronted by Mr. Bill O'Reilly's outrageous call to blow of Iran
“off of the face of the earth." With haste and solidarity, over
two thousand people including you sent emails
demanding a public apology.

With the Iranian-American community by our side, we have
relentlessly pursued this issue.

Earlier today, I spoke at length with Mr. O'Reilly's producer and
explained how these comments have insulted and hurt our
community and why an apology must be issued.

We have also discussed the matter with other Fox News
representatives and systematically added pressure on the

progress has been made, more pressure is needed.

 
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That is why we must, with your help, continue to pursue this
campaign to its resolution.

Babak , your support is essential for us to not only win
this campaign, but also to deter others from following Mr.
O'Reilly's lead.

To reach this goal, I would like to ask two things of you:

1. Please notify three of your friends and ask them to send
letters to Mr. O'Reilly through the NIAC website.

2. Support NIAC and its efforts to allow you to hold public
officials accountable by making an online donation:

Remember — all donations above $40 are tax-deductible!

 

 

 

 

 

 

For five years, NIAC's efforts have been made possible through
the support of dedicated people like you; people who share our
vision for a community that is active, aware, and willing to
stand up for its rights.

We are grateful to have you by our side!

Sincerely,

Trita Parsi

President
age 7 of 8
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National Iranian American Council
2801 M St NW

Washington DC 20007

Tel: 202-719-8071

Fax: 202-719-8097

"YOU have the power!" ~ Howard Dean M.D

 

"YOU have the power!" ~ Howard Dean M.D .

"YOU have the power!" ~ Howard Dean M.D.

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such

taxpayer by the Internal Revenue Service. In addition, if any such tax advice is used or
referred

to by other parties in promoting, marketing or recommending any partnership or other

 

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entity,

investment plan or arrangement, then (i) the advice should be construed as written in
connection

with the promotion or marketing by others of the transaction(s) or matter(s) addressed in
this

communication and (ii) the taxpayer should seek advice based on the taxpayer's particular
circumstances from an independent tax advisor.

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ATTACHMENT J
Page 1 of 1
Case 1:08-cv-00705-JDB Document 27-1 Filed 08/04/09 Page 57 of 57

Rogers, HL

From: Rogers, HL

Sent: Wednesday, July 22, 2009 7:51 AM

To: Babak Talebi

Ce: Jensen, Peter; Kapshandy, Timothy E., ap@pishevarlegal.com; ja@pishevarlegal.com
Subject: RE: RE: Document submission

Mr. Talebi,

Let us know immediately when you will be producing documents.
From: Babak Talebi [mailto:babaktalebi@gmail.com]
Sent: Monday, July 20, 2009 2:35 PM
To: Rogers, HL

Cc: Jensen, Peter; Kapshandy, Timothy E.; ap@pishevarlegal.com; jg@pishevarlegal.com
Subject: Re: RE: Document submission

I can't submit today, I am on the road,
On Jul 20, 2009 11:43 AM, "Rogers, HL" <hrogers@sidley.com> wrote:
Mr. Talebi,

We have still not received your production. Please contact me today. If I have not heard
from you by today, I will file the motion to compel that I previously circulated to you.

From: Rogers, HL
Sent: Monday, July 13, 2009 8:55 AM
To: Babak Talebi

> Cc: ap@pishevarlegal.com; jg@pishevarlegal.com; Kapshandy, Timothy E.; Jensen,
Peter

Subject: RE: Document submission

> Mr. Talebi, > > We are waiting for your production. Please let me know
today when you plan to de..

7/31/2009
